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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                                      CASE NO.: 4:06cr9-SPM

BRANDON FITZGERALD STEPHERSON,

           Defendant.
___________________________________/

                            ORDER OF REFERENCE

        The court has been informed that the defendant in the above styled case

wishes to enter a guilty plea and consents to having the guilty plea proceedings

conducted by a United States Magistrate Judge. Pursuant to the provisions of 28

U.S.C. § 636(b)(3) and Loc. R. 72.3, it is hereby

        ORDERED that the above captioned criminal case be referred to the

Honorable William C. Sherrill, Jr., United States Magistrate Judge, to conduct all

of the proceedings required by Rule 11 of the Federal Rules of Criminal

Procedure incident to a guilty plea and to make a recommendation to the District

Judge concerning acceptance or rejection of the guilty plea.

        DONE AND ORDERED this 7th day of March, 2006.


                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
